     Case 4:17-cv-01635-LSC-SGC Document 44 Filed 06/30/20 Page 1 of 2                    FILED
                                                                                 2020 Jun-30 PM 02:45
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

IDARIUS COLE,                             )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )   Case No.: 4:17-cv-01635-LSC-SGC
                                          )
CHRISTOPHER A. MCLAURIN,                  )
                                          )
       Defendant.                         )

                    MEMORANDUM OPINION AND ORDER

      The magistrate judge entered a report on May 27, 2020, recommending the

defendant's special report be treated as a motion for summary judgment and, thus

construed, the motion be granted in part and denied in part. (Doc. 43). Although

the parties were advised of their right to file specific written objections within

fourteen days, no objections have been received by the court.

      Having carefully reviewed and considered de novo all the materials in the

court file, including the report and recommendation, the magistrate judge’s report is

ADOPTED, and the recommendation is ACCEPTED. Accordingly, the court

ORDERS that the defendant’s motion for summary judgment is GRANTED IN

PART and DENIED IN PART. Specifically, the motion is GRANTED as to the

plaintiff’s official capacity claim seeking monetary relief from the sole remaining
     Case 4:17-cv-01635-LSC-SGC Document 44 Filed 06/30/20 Page 2 of 2




defendant, Christopher A. McLaurin, and DENIED in all other respects. This matter

is REFERRED to the magistrate judge for further proceedings.

      DONE and ORDERED on June 30, 2020.



                                        _____________________________
                                               L. Scott Coogler
                                         United States District Judge
                                                                            160704




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